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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,                  )
                                        )
         Plaintiffs,                    )
                                        )        CIVIL ACTION NO.
         v.                             )          2:14cv601-MHT
                                        )               (WO)
JOHN HAMM, in his                       )
official capacity as                    )
Commissioner of                         )
the Alabama Department of               )
Corrections, et al.,                    )
                                        )
         Defendants.                    )

                                    ORDER

       Pursuant     to    the   Phase       2A    Opinion    and    Order   on

Monitoring of Eighth Amendment Remedy (Doc. 2915) and the

court’s subsequent orders seeking recommendations from

the parties and from Magistrate Judge John Ott about whom

the     court    should     appoint     to       replace    Dr.    Jacqueline

Feldman as psychiatrist on the external monitoring team

(Doc. 3540 & Doc. 3632), and after review of Magistrate

Judge Ott’s recommendation (Doc. 3632-1), the parties’

responses (Doc. 3654 & Doc. 3656), and the resumes of the
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proposed finalists (Doc. 3632-2 & Doc. 3632-3), it is

ORDERED that:

    (1) The position of psychiatrist on the external

monitoring team shall be filled by Dr. Donald Raymond

Reeves, Jr.*      To the extent the plaintiffs have raised

concerns about Dr. Reeves’s availability, the defendants

correctly    point     out    that,   “[i]f    the    EMT    determines

additional resources remain necessary to complete the

EMT’s mission, then the Court provided a mechanism for

seeking these additional resources.”                 Defs.’ Resp. to

Magistrate Judge Ott’s Recommendation (Doc. 3656) at 8;

see also Phase 2A Opinion and Order on Monitoring of the

Eighth Amendment Remedy (Doc. 2915) at 22 (“[T]he court

will not initially require the inclusion of the other

members     proposed     by   the     plaintiffs     on     the    EMT--a

counselor or social worker, and a data expert--but will

instead   leave     it   to   the     EMT,   which    would       be   more




    * The court understands that the defendants’
agreement to this appointment is subject to footnote 1
in the defendants’ response to Magistrate Judge Ott’s
recommendation (Doc. 3656).
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knowledgeable        than     the   court   about     such   matters,       to

determine whether additional members or support staff are

necessary.         If it so determines, the EMT may ask the

court to appoint additional members, either on an ad hoc

or permanent basis.”).

       (2) The court’s prior appointments of the other

members of the external monitoring team remain in place:

Dr. Elizabeth Falcon in the role of psychologist; and

Mr. Rick        Raemisch       in    the     role     of     correctional

administrator.          The court understands that the parties

are     continuing       to   work    toward     an    agreement      on     a

recommendation to replace Ms. Catherine Knox in the role

of nurse.

       DONE, this the 8th day of July, 2022.

                                        /s/ Myron H. Thompson
                                     UNITED STATES DISTRICT JUDGE




                                      3
